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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                EL PASO DIVISION

ANTONIO PICADO,                                   §
                                                  §
       Plaintiff,                                 §
                                                  §
v.                                                §      Case No. 3:21-cv-00221
                                                  §
CARRINGTON MORTGAGE SERVICES,                     §
LLC, AS SERVICER FOR WILMINGTON                   §
SAVINGS FUND SOCIETY, FSB,                        §
as trustee of UPLAND MORTGAGE LOAN                §
TRUST A, and TRACEY MIDKIFF,                      §
SUBSTITUTE TRUSTEE                                §
                                                  §
       Defendants.                                §

     NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

       COMES NOW ANTONIO PICADO, Plaintiff herein, by and through his attorneys if
record, ZENDEH DEL & ASSOCIATES, PLLC, Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the
Federal Rules of Civil Procedure, and hereby gives notice that the above- captioned action is
voluntarily dismissed, without prejudice against all defendants.

                                          Respectfully submitted,

                                          ZENDEH DEL & ASSOCIATES, PLLC

                                          Counsel for the Plaintiff
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                                          Galveston, Texas 77551
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                                          By: /s/ Gabe Perez
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                               CERTIFICATE OF SERVICE

                I hereby certify that on the 18th day of April 2022, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification
of such filing (NEF) to the following parties:

       C. Charles Townsend, via e-mail: charles.townsend@akerman.com
       Monica Summers, via e-mail: monica.summers@akerman.com


                                           By: /s/ Gabe Perez
                                              Gabe Perez, SBN 24099475
                                               gabe@zendehdel.com
